                       UNITED STATES COURT OF APPEALS
                           FOR THE EIGHTH CIRCUIT

                                           No: 17-3029

                                     Michael Postawko, et al.

                                                     Appellees

                                                v.

                            Missouri Department of Corrections, et al.

                                                     Appellants


______________________________________________________________________________

     Appeal from U.S. District Court for the Western District of Missouri - Jefferson City
                                   (2:16-cv-04219-NKL)
______________________________________________________________________________

                                             ORDER

   Appellants have paid the filing fees in the matter, and the appellees’ motion to dismiss is

denied. The briefing schedule previously established in the case remains in effect.


                                                       October 05, 2017




Order Entered Under Rule 27A(a):
Clerk, U.S. Court of Appeals, Eighth Circuit.
____________________________________
            /s/ Michael E. Gans




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